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         EXHIBIT 2
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        Protected Material - Pursuant to Protective Order

    1                   UNITED STATES DISTRICT COURT
    2                    SOUTHERN DISTRICT OF OHIO
    3                          ------------------
    4

    5    SARA HAWES, individually,
    6    and on behalf of all others
    7    similarly situated,
    8

    9                      Plaintiffs,
  10

  11              vs.                   Case No.       17-CV-00754
  12

  13     MACY'S WEST STORES, INC.,
  14

  15                       Defendant.
  16                          -------------------
  17       PROTECTED MATERIAL - PURSUANT TO PROTECTIVE ORDER
  18                          Remote Deposition of
  19                                SAL CINIGLIO
  20

                                 October 13, 2020
  21                                 10:05 a.m.
  22

  23        Christine Zarife Green, CRI, Notary Public
  24

  25

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        Protected Material - Pursuant to Protective Order

    1          Q.       Okay.     If you look at the top part of the
    2      email, the response from --
    3          A.       Mr. Mani.
    4          Q.       Yeah.     Second sentence says, "Regarding
    5      1000TC solid sateen, the comment is quite
    6      surprising to us."
    7                   What does solid sateen mean?
    8          A.       It's a solid sheet set, so it's not a
    9      stripe or with dots.             So it's just a solid sheet
  10       set.     Sateen is just a certain weave.
  11           Q.       Can you explain the difference between a
  12       sateen weave and any other kind of weave?
  13           A.       A sateen weave is a four over one.                   So
  14       four yarns over one in the construction.                      It makes
  15       it a softer sheet.
  16           Q.       And that would be opposed to what other
  17       weave?
  18           A.       Percale would be two over one, so it's a
  19       lot tighter and that makes a sheet crisper.                       I'm
  20       sorry.     That's one over one.
  21                    MR. LEGANDO:        Okay.      If we can go to
  22       Exhibit 5, please.
  23                                -   -   -    -   -
  24                        (Thereupon, Deposition Exhibit 5,
  25                        AQ-HawesVMacys_0015675, was marked

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